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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                       CASE NO: 1:18-cv-22923-GAYLES/OTAZO-REYES

  JELEN CARPIO,

         Plaintiff,

  vs.

  NCL (BAHAMAS) LTD.,
  D-I DAVIT INTERNATIONAL, INC.,
  HATECKE SERVICE USA, LLC

         Defendant.


          DEFENDANT’S MOTION TO DISMISS AND COMPEL ARBITRATION

         Defendant, NCL (Bahamas) LTD. (“Norwegian”), by and through undersigned counsel,

  hereby moves to dismiss and compel this dispute to arbitration, and states:

                                             Background

         This Court should compel this dispute to arbitration pursuant to the Convention on the

  Recognition and Enforcement of Foreign Arbitral Awards (“The Convention Act” 9 U.S.C. 201-

  08). Alternatively, this Court can dismiss this action based on forum non conveniens requiring

  Plaintiff to seek redress in the Philippines. Plaintiff and Norwegian previously settled this claim,

  and Plaintiff executed a release mandating that all disputes regarding its construction or validity

  be brought back in the Philippines.

         Diogenes Carpio (“Decedent”), a Filipino citizen, was employed as a crewmember

  onboard Norwegian’s cruise ship the Breakaway. Decedent died during a 2016 rescue boat drill.

  Plaintiff, Decedent’s wife, initiated an arbitration proceeding against Norwegian in the

  Philippines as she was required to do based on Decedent’s employment agreement and collective




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  bargaining agreement. Plaintiff and Norwegian settled the arbitration, and Plaintiff released any

  and all her claims against Norwegian. Despite this, Plaintiff retained Florida lawyers and sued

  Norwegian and two other defendants in Florida state court. Norwegian removed this action to

  this Court to compel Plaintiff’s dispute back to arbitration under the employment agreement, the

  collective bargaining agreement, and the release. As outlined below, this Court must grant

  Norwegian’s motion.

         Decedent’s employment with Norwegian was governed by terms and conditions set forth

  in his employment agreement. Decedent, as a Philippine citizen, was hired to work onboard

  Norwegian’s ship through the Philippine government. The Philippines Overseas Employment

  Administration (“POEA”), a division of the Department of Labor and Employment, promulgates

  numerous rules and regulations for the employment of Filipino citizens at sea.

         Decedent was required to submit any dispute against Norwegian to binding and

  mandatory arbitration in the Philippines with the POEA. [Employment Agreement, attached as

  Exhibit 1; ECF No. 1-1 p. 1 ¶ 2]. His POEA-approved employment agreement incorporates

  “Governing Board Resolution No. 9 and Memorandum Circular No. 10, both Series of 2010” by

  reference, stating that they “shall be strictly and faithfully observed.” [Exhibit 1, p. 1 ¶ 2]. The

  POEA requires “the parties covered by a collective bargaining agreement shall submit the claim

  or dispute to the original and exclusive jurisdiction of the voluntary arbitrator or panel of

  voluntary arbitrators.” [Memorandum Circular 10 § 29, attached as Exhibit 2].

         Decedent’s collective bargaining agreement likewise mandated that he submit disputes

  with Norwegian to arbitration. The agreement provides that “[a]ny and all claims, grievances and

  disputes of any kind whatsoever . . . shall be referred to and resolved exclusively by binding

  arbitration[.]” [CBA Art. 29, attached as Exhibit 3].




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             As a result of the multiple mandatory arbitration agreements, Plaintiff initiated arbitration

  against Norwegian in the Philippines through the POEA following Decedent’s death. The parties

  ultimately settled, and Plaintiff executed a “Release of all Rights” in exchange for a monetary

  settlement. The parties agreed that the release “shall in all respects be governed by the laws of

  the Philippines including all matters of construction and validity. I further agree that any disputes

  arising from this settlement agreement shall be referred to the competent court or authorities of

  the Philippines, to the exclusion of any other forum.” [Release, attached as Exhibit 4; ECF No. 1-

  3 p. 3].

             The Release was executed as part of the arbitration proceedings, and Plaintiff signed

  same before the Labor Arbiter/Administering Officer. [Exhibit 4, p. 4]. The Release, a seaman’s

  “red-letter” release, required Plaintiff to fill in certain portions in her own handwriting to show

  she knew what she was doing. She wrote that she was releasing Norwegian, that she was

  releasing all her rights against it, that she read the Release, knew what it was, and knew that

  signing same “settles and ends EVERY right or claim you may have, whether it be based on

  contract, tort or on other grounds.” [Exhibit 4, p. 4]. The POEA arbitrator accepted the Release

  and granted the joint motion to dismiss the Filipino arbitration proceedings with prejudice.

             Plaintiff had a subsequent change of heart. Now represented by Florida attorneys, she

  brought suit in Florida state court, alleging a survival action under the Jones Act, a Death on the

  High Seas Act claim, and unseaworthiness. She contended that the release was not supported by

  consideration because she received $130,000, to settle her claims against Norwegian. [ECF No.

  1-2 p. 13 ¶ 25]. She contended that the settlement amounted to the death benefit she was already

  entitled to under Decedent’s collective bargaining agreement. [Id.]. Norwegian removed this

  action to compel it back to arbitration from where it came.




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                                        Memorandum of Law

  1.       Plaintiff’s claim against Norwegian are subject to arbitration.

           This Court must compel this case to arbitration pursuant to the Convention. Arbitration

  agreements are highly favored and rigorously enforced by courts. Shearson/American Express,

  Inc. v. McMahon, 482 U.S. 220, 226 (1987); Mitsubishi Motors Corp. v. Soler Chrysler-

  Plymouth, Inc., 473 U.S. 614, 625 (1985). A court has very little discretion in deciding whether

  to enforce a valid arbitration agreement. Bautista v. Star Cruises, 396 F.3d 1289 (11th Cir.

  2005). Arbitration agreements concerning foreign commerce are given particular deference.

  Mitsubishi Motors, 473 U.S. at 629. Any doubts concerning the scope of arbitration should be

  resolved in favor of arbitration. Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S.

  1 (1983).

           Foreign seaman arbitration agreements, just like this one, are universally enforced by this

  Court and the Eleventh Circuit pursuant to the Convention. E.g., Bautista, 396 F.3d at 1289;

  Lindo v. NCL (Bahamas), Ltd., 652 F.3d 1257 (11th Cir. 2011); Maxwell v. NCL (Bahamas) Ltd.,

  454 F. App’x 709 (11th Cir. 2011); Azavedo v. Royal Caribbean Cruises, Ltd., 4 F. Supp. 3d

  1357 (S.D. Fla. 2014); Tancu v. Celebrity Cruises, Inc., 2010 WL 271432 (S.D. Fla. Jan. 15,

  2010); see also Moncada v. Carnival Corp., 13-cv-23779-CMA [ECF No. 4] (S.D. Fla. Oct. 18,

  2013).

           The seminal Eleventh Circuit case compelling foreign crewmember cases to arbitration,

  Bautista, involved Filpino seafarers and the POEA. Bautista, 396 F.3d at 1289. Just like this

  case, the Bautista crewmembers signed POEA-approved employment agreements that

  incorporated its standard terms and conditions, including arbitration. Id. at 1293. The court




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  compelled the disputes to arbitration in the Philippines under the Convention, finding the

  agreements enforceable with no valid defenses to arbitration.

         In deciding whether to compel arbitration under the Convention, this Court must conduct

  a very limited inquiry. See Bautista, 396 F.3d at 1294. A district court must order arbitration

  unless (1) the four jurisdictional prerequisites are not met, or (2) one of the Convention’s

  affirmative defenses applies. Id. The four jurisdictional prerequisites are: (1) there is an

  agreement in writing to arbitrate the dispute; (2) the agreement provides for arbitration in the

  territory of a signatory to the Convention; (3) the agreement to arbitrate arises out of a

  commercial legal relationship; and (4) a party to the agreement is not an American citizen. Id.

         This Court has jurisdiction to enforce the arbitration agreements here as all four

  prerequisites are met. The arbitration agreements are in writing—the employment agreement,

  collective bargaining agreement, and release; the arbitration agreements provide for arbitration in

  the Philippines, a signatory to the Convention; the arbitration agreements arise out of a

  commercial, legal relationship, Bautista, 396 F.3d at 1300; and Plaintiff is not a United States

  citizen. All of Plaintiff’s claims fall within the arbitration agreement. This case must be

  compelled to arbitration.

         None of the Convention’s affirmative defenses to arbitration apply either. A party may

  only avoid arbitration under the Convention where “said agreement is null and void, inoperative

  or incapable of being performed.” Lindo, 652 F.3d at 1263. The affirmative defenses are

  confined to “standard breach-of-contract defenses” such as fraud, mistake, duress, and waiver

  “that can be applied neutrally on an international scale.” Id. Public policy or unconscionability

  arguments are not valid affirmative defenses to prevent the enforcement of an arbitration




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  agreement under the Convention. Id. at 1280. Plaintiff has no valid affirmative defense to

  arbitration in this case.

  2.      Issues regarding the validity of the release are arbitrated in the Philippines.

          Any challenge Plaintiff makes against the release is to be considered by arbitrators in the

  Philippines like the rest of her claims. A challenge to the validity of a contract as a whole, and

  not specifically to the arbitration clause within it, must go to the arbitrator, not the court. Prima

  Paint Corp. v. Flood & Conklin Mfg. Co., 388 U.S. 395 (1967). And an arbitration clause

  requiring both parties to submit to arbitration constitutes all the consideration needed for the

  agreement. Kruse v. AFLAC Int’l, Inc., 458 F. Supp. 2d 375, 385 (E.D. Ky. 2006) (citing Walker

  v. Ryan’s Family Steak Houses, Inc., 400 F.3d 370, 380 (6th Cir. 2005)).

          The Supreme Court has made clear that “[a]n agreement to arbitrate a gateway issue is

  simply an additional, antecedent agreement the party seeking arbitration asks the federal court to

  enforce, and the FAA operates on this additional arbitration agreement as it does on any other.”

  Rent-A-Center, West, Inc. v. Jackson, 130 S. Ct. 2772, 2777-78 (2010). Parties can agree to the

  arbitrability of gateway issues, “such as whether the parties have agreed to arbitrate or whether

  their agreement covers a particular controversy.” Id. at 2777. Thus, a court may conclude that

  the parties agreed to arbitrate the very issue of “arbitrability” where “there is clear and

  unmistakable evidence that they did so.” Id. at 79, 130 S. Ct. at 2783 (internal quotation marks

  omitted). Further, unless the party opposing arbitration specifically challenges the validity of the

  arbitration clause, the district court must treat it as valid and delegate decisions regarding the

  validity of the agreement to the arbitrator. See id. at 2779.

          The release requires that all disputes concerning its construction and validity are

  governed by the laws of the Philippines and “shall be referred to the competent court or




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  authorities of the Philippines, to the exclusion of any other forum.” [ECF No. 1-3 p. 3].

  According to the POEA memoranda and resolutions, the authority that must hear this dispute is

  the POEA arbitration system. There is no basis for Plaintiff to challenge the release in U.S.

  courts. Her arguments that the release is not supported by consideration are for the Filipino

  authorities to consider in the first instance. Any challenge to the Release must be compelled back

  to arbitration in the Philippines.

  3.      The Court can alternatively dismiss this case under forum non conveniens if it finds
          that Plaintiff’s challenge to the Release can be brought in a Filipino court.

          To the extent that this Court construes the Release to contain a mandatory forum

  selection clause in the Philippines, but not a mandatory arbitration clause, this Court must

  dismiss this action for Plaintiff to refile in the Philippines based on forum non conveniens. “[T]he

  appropriate way to enforce a forum-selection clause pointing to a state or foreign forum is

  through the doctrine of forum non conveniens.” Atl. Marine Const. Co. v. U.S. Dist. Ct., 571 U.S.

  49, 60 (2013). “[A] valid forum-selection clause [should be] given controlling weight in all but

  the most exceptional cases.” Id. (alterations in original).

          The forum non conveniens analysis requires the court to analyze whether (1) an adequate

  alternative forum is available; (2) the public and private factors weigh in favor of dismissal; and

  (3) the plaintiff can reinstitute his suit in the alternative forum without undue inconvenience or

  prejudice. Leon v. Millon Air, Inc., 251 F.3d 1305, 1311 (11th Cir. 2001) (citing La Seguridad v.

  Transytur Line, 707 F.2d 1304, 1307 (11th Cir. 1983)). The typical forum non conveniens

  analysis is altered in situations where a forum selection clause exists. Id. “First, the plaintiff’s

  choice of forum merits no weight.” Id. at 63. “Second, a court . . . should not consider arguments

  about the parties’ private interests.” Id. “Third, when a party bound by a forum-selection clause




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  flouts its contractual obligation and files suit in a different forum, a transfer of venue will not

  carry with it the original venue’s choice of law rules.” Id. at 64.

         The relevant factors weigh clearly in favor of dismissal. The Philippines is certainly an

  adequate forum. Plaintiff already litigated this dispute there in a POEA-approved arbitration. The

  parties settled that arbitration, and Plaintiff voluntarily dismissed her claims with prejudice.

  Plaintiff’s Release required any dispute concerning the construction or validity of the Release to

  be brought, if at all, in the Philippines subject to Filipino law. See Membreno v. Costa Crociere,

  S.p.A., 425 F.3d 932, 936 (11th Cir. 2005) (“The first step in determining whether an action

  should be dismissed for forum non conveniens is to determine whether United States law should

  be applied to the case.”). These factors weigh in favor of dismissal. Lastly, Plaintiff can bring her

  claims against the release back in arbitration in the Philippines. In sum, if this Court believes the

  Release contains a venue provision, but not an arbitration provision, it should dismiss this action.

  Plaintiff’s complaints against the Release can only be heard in the Philippines.

                                               Conclusion

         Plaintiff fully and finally settled this case with Norwegian in arbitration in the

  Philippines, and simply has buyer’s remorse. She must bring these claims, if at all, in the

  Philippines pursuant to the multiple arbitration agreements Decedent agreed to in addition to the

  Release she executed in exchange for a monetary settlement. Her substantive claims are all

  subject to arbitration in the Philippines. She obviously knew this because she initially began

  proceedings there. Her arguments against the Release also must be heard in the Philippines.

  Plaintiff’s contention that the Release is not supported by consideration does not prevent the

  enforcement of the venue provision within same since the parties agreed to arbitrate issues of the

  Release’s construction and validity. If the Court construes the Releases provisions as a forum




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  selection clause, not an arbitration provision, it must dismiss this suit for forum non conveniens.

  In the end, there is no basis for this litigation to remain in Florida state or federal court. This

  Court must grant Norwegian’s motion.

                                   S.D. Fla. L.R. 7.1 Certification

         I hereby certify that counsel for movant conferred with Plaintiff’s counsel in a good faith

  effort to resolve the issues raised in this motion, but was unable to do so.


                                                 Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on July 26, 2018, I electronically filed the foregoing document with

  the Clerk to the Court using CM/ECF. I also certify that the foregoing document is being served

  this day on all counsel of record or pro se parties identified on the below Service List in the

  manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF

  or in some other authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.




                                                 /s/ Cameron Eubanks
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